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                                                                                                              9
                                                                                                                                            UNITED STATES DISTRICT COURT
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                                                                                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                                             11
                                                                                                                                                    WESTERN DIVISION
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                                                                              I R V I N E , C A 92614-2545
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                                                                                                             13
                                                                                                                  HONG LIU,                                    Case No. 2:20-cv-08035-SVW-JPR
                                                                                                             14
                                                                                                                                      Plaintiff,               The Honorable Jean P. Rosenbluth
                                                                                                             15
                                                                                                                          v.                                    DISCOVERY MATTER:
                                                                                                             16
                                                                                                                  FARADAY&FUTURE INC.,                          OPPOSITION TO PLAINTIFF AND
                                                                                                             17   SMART KING LTD., JIAWEI                       COUNTER-DEFENDANT’S
                                                                                                                  WANG, and CHAOYING DENG,                      EXPEDITED MOTION FOR
                                                                                                             18                                                 DETERMINATION OF URGENT
                                                                                                                                      Defendants.               PRIVILEGE ISSUE AND TO
                                                                                                             19                                                 COMPEL PRODUCTION
                                                                                                             20
                                                                                                             21 AND RELATED COUNTERCLAIM.
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                                                                                                                              OPPOSITION TO PLAINTIFF AND COUNTER-DEFENDANT’S EXPEDITED MOTION FOR
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                                                                                                              1   I.      INTRODUCTION AND SUMMARY OF ARGUMENT
                                                                                                              2           Plaintiff and Counter-Defendant Hong Liu’s (“Liu”) Expedited Motion for
                                                                                                              3   Determination of Urgent Privilege Issue and to Compel Production (the “Motion”)
                                                                                                              4   improperly asks this Court to:
                                                                                                              5           1.       Condone Liu’s and his counsel’s past and threatened future ethical and
                                                                                                              6   legal violations, manifest in their illicit possession and use of Defendant and
                                                                                                              7   Counterclaimant Faraday&Future Inc.’s (“Faraday”) and Defendant Smart King,
                                                                                                              8   Ltd.’s (“Smart King”) (collectively, “FF”) privileged information to prosecute
                                                                                                              9   Liu’s alleged wrongful termination claim in this action (the “Ethical Violations
                                                                                                             10   Issue”); and to
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                                                                                                             11           2.       Compel FF’s production of privileged and unspecified non-privileged
                                                                                                             12   documents that Liu speculates exist, in violation of both Ninth Circuit law and the
                                                                              I R V I N E , C A 92614-2545
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                                                                                                             13   mandatory discovery dispute procedures prescribed by the Local Rules (the
                                                                                                             14   “Production Issue”).
                                                                                                             15           As established in this Opposition, neither request can withstand scrutiny for
                                                                                                             16   the following reasons:
                                                                                                             17           First, with respect to the Ethical Violations Issue, Liu judicially admits the
                                                                                                             18   “uncontested proposition” that he cannot legally “use [FF’s] privileged
                                                                                                             19   information” to “prove his wrongful termination claim” in this action under
                                                                                                             20   controlling California Supreme Court law. (See Mot. at p. 2, n.3, citing General
                                                                                                             21   Dynamics Corp. v. Super. Ct., 7 Cal. 4th 1164 (1994).) Consistent with that
                                                                                                             22   dispositive admission, Liu’s counsel’s receipt, retention and misuse of the
                                                                                                             23   privileged information Liu misappropriated from FF shortly before his termination
                                                                                                             24   in early 2019 to prosecute Liu’s wrongful termination claim subjects that counsel to
                                                                                                             25   disqualification under equally well-settled California law.        See discussion and
                                                                                                             26   authorities cited, infra, at Section III.A.2. In a gambit to now avoid that governing
                                                                                                             27   law and retroactively justify his and his counsel’s legally disqualifying conduct, Liu
                                                                                                             28   asks the Court to find that FF has wholesale waived the attorney-client privilege
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                                                                                                                              OPPOSITION TO PLAINTIFF AND COUNTER-DEFENDANT’S EXPEDITED MOTION FOR
                                                                                                                                   DETERMINATION OF PRIVILEGE ISSUE AND TO COMPEL PRODUCTION
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                                                                                                              1   based solely on Faraday’s assertion of certain defensive claims for breach of
                                                                                                              2   contract and breach of fiduciary duty in its Second Amended Counterclaim
                                                                                                              3   (“SACC”), which claims are based upon Liu’s failure to perform his job duties with
                                                                                                              4   respect to a handful of specifically enumerated subject matters. (SACC ¶¶ 50, 55-
                                                                                                              5   59, 61, 69-70.) No law countenances, let alone remotely requires, the imposition of
                                                                                                              6   a blanket waiver under these circumstances, particularly where Liu admittedly
                                                                                                              7   seeks to use FF’s privileged information as a weapon to prove his affirmative claim
                                                                                                              8   that he was wrongfully discharged in retaliation for reporting “compliance issues
                                                                                                              9   and violations of law” that supposedly occurred at FF. (Compl. ¶¶ 132-133; see
                                                                                                             10   also discussion and evidence cited, infra, at Section II.F).
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                                                                                                             11           As Liu now admits, California Supreme Court law could hardly be more
                                                                                                             12   clear that “a wrongful discharge in violation of fundamental public policy claim
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                                                                                                             13   [that] cannot . . . be fully established without breaching the attorney-client privilege
                                                                                                             14   . . . must be dismissed in the interest of preserving the privilege[,] General
                                                                                                             15   Dynamics, 7 Cal. 4th at 1190, and Liu cannot vitiate that principle under the guise
                                                                                                             16   of defending himself against FF’s contention that it terminated him for lawful
                                                                                                             17   reasons. Indeed, were that not the case, every in-house counsel alleging wrongful
                                                                                                             18   termination would be able to compel its former employer to broadly waive the
                                                                                                             19   privilege in order to establish a valid, non-pretextual reason for the attorney’s
                                                                                                             20   discharge. That clearly is not the law. Id. at 1192 (recognizing that “[o]f course,
                                                                                                             21   the defendant employer is always free to challenge plaintiff’s claim by
                                                                                                             22   demonstrating the discharge was motivated by [lawful] reasons”).
                                                                                                             23           Second, with respect to the Production Issue, there is no legal or factual basis
                                                                                                             24   for relieving Liu from Local Rule 37-1 and 37-2’s governing requirements for
                                                                                                             25   discovery motions, particularly where, as here, Liu exclusively seeks to compel the
                                                                                                             26   production of (i) privileged records to which he is not legally entitled; and
                                                                                                             27   (ii) speculative non-privileged documents that do not exist. As established below,
                                                                                                             28   FF is in the process of imminently completing its production of all relevant
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                                                                                                                              OPPOSITION TO PLAINTIFF AND COUNTER-DEFENDANT’S EXPEDITED MOTION FOR
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                                                                                                              1   documents, including all privileged email communications that Liu authored
                                                                                                              2   relating to the subject matters specifically enumerated in support of the SACC’s
                                                                                                              3   allegation that Liu failed to satisfactorily perform his job duties—accordingly, there
                                                                                                              4   is nothing to legally compel. See, e.g., Tapia v. Huntington Park Police Dep't, No.
                                                                                                              5   CV 09-07624 VBF (SSx), 2010 U.S. Dist. LEXIS 152015, at *4-5 (C.D. Cal. May
                                                                                                              6   5, 2010) (“A party’s mere suspicion that additional documents exist does not justify
                                                                                                              7   a motion to compel.”).
                                                                                                              8           The Motion is required to be denied.
                                                                                                              9   II.     STATEMENT OF FACTS
                                                                                                             10           A.       The Parties and Liu’s Claims
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                                                                                                             11           Between April 2014 and February 2018, Liu was a New York attorney and a
                                                                                                             12   partner at Mayer Brown LLP (“Mayer”). (SACC ¶ 1; Compl. ¶ 22.) Faraday is an
                                                                              I R V I N E , C A 92614-2545
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                                                                                                             13   electric car company headquartered in Los Angeles. (SACC ¶¶ 13, 17.) Smart
                                                                                                             14   King is FF’s indirect parent company. (Id. ¶ 40.)
                                                                                                             15           B.       The Employment Agreement and Liu’s Ethical Violations
                                                                                                             16           While Liu was a Mayer partner, Faraday retained Mayer generally, and Liu
                                                                                                             17   specifically, as its outside legal counsel, which attorney-client relationship was
                                                                                                             18   memorialized in an October 20, 2017 engagement agreement that Liu signed with
                                                                                                             19   Faraday on Mayer’s behalf (the “Engagement Agreement”). (Id. ¶ 2.) Between
                                                                                                             20   October 2017 and January 2018, Liu—while representing FF in various legal
                                                                                                             21   matters as a Mayer partner—solicited, negotiated, drafted the terms of, and
                                                                                                             22   ultimately entered into an employment agreement with FF under which Liu was
                                                                                                             23   retained as Faraday’s Global General Counsel (the “Employment Agreement”).
                                                                                                             24   (Id. ¶¶ 3-5, 17-38.) In doing so, Liu violated his ethical and fiduciary duties under
                                                                                                             25   both California and New York law, as well as under California Rules of
                                                                                                             26   Professional Conduct 3-300, 3-310 and 4-200, and their respective New York
                                                                                                             27   counterparts, manifest in his:
                                                                                                             28
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                                                                                                                              OPPOSITION TO PLAINTIFF AND COUNTER-DEFENDANT’S EXPEDITED MOTION FOR
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                                                                                                              1           1.       Failure to advise FF in writing to seek and obtain independent legal
                                                                                                              2   counsel in connection with the Employment Agreement;
                                                                                                              3           2.       Failure to inform FF of the actual and reasonably foreseeable adverse
                                                                                                              4   consequences and material risks of, and the reasonably available alternatives to, the
                                                                                                              5   Employment Agreement terms, which, among other things, contractually entitled
                                                                                                              6   Liu to both the accelerated and immediate payment of $8 million in cash
                                                                                                              7   compensation, and the similarly accelerated and immediate vesting and provision of
                                                                                                              8   FF stock options currently valued at $80 million, in the event of, and as a reward
                                                                                                              9   for, his termination for cause from FF at any time;
                                                                                                             10           3.       Failure to disclose to FF that he was negotiating the Employment
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                                                                                                             11   Agreement exclusively on his own behalf and for his benefit, and was not providing
                                                                                                             12   FF with the same legal advice he would have given FF had FF been negotiating that
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                                                                                                             13   contract with a third-person;
                                                                                                             14           4.       Failure to disclose in writing to FF, and to obtain FF’s fully informed
                                                                                                             15   written consent to, Liu’s conflict of interest with respect to the Employment
                                                                                                             16   Agreement; and Liu’s resulting
                                                                                                             17           5.       Procurement of an Employment Agreement containing unfair,
                                                                                                             18   unreasonable, and unconscionable compensation and other one-sided terms. (Id.
                                                                                                             19   ¶¶ 45, 76-91.)
                                                                                                             20           C.       Liu Failure to Perform Specified Job Duties
                                                                                                             21           After joining Faraday as Global General Counsel, Liu failed to perform his
                                                                                                             22   job duties with respect to the identified subject matters alleged in the SACC in
                                                                                                             23   violation of his Employment Agreement. Specifically, Liu: (i) failed to lead FF to
                                                                                                             24   an IPO; (ii) failed to connect FF with investment banks; (iii) failed to assist FF
                                                                                                             25   when its Series A investor, Evergrande Health Industry Group (“Evergrande”),
                                                                                                             26   backed-out of its funding commitment; and (iv) failed to provide substantive legal
                                                                                                             27   advice as to the EVelozcity litigation, vendor concerns regarding indemnification,
                                                                                                             28   the recording of internal FF meetings, and a potential reduction in FF’s workforce,
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                                                                                                              1   each specifically identified in the SACC, and reflected in Liu’s emails quoted
                                                                                                              2   verbatim in the SACC. (SACC ¶¶ 50, 55-59, 61, 69-70.) Moreover, as further
                                                                                                              3   alleged in the SACC, Liu (v) repeatedly harassed FF’s equity incentive program
                                                                                                              4   manager and threatened to fire FF’s outside counsel when it declined to provide
                                                                                                              5   him with grants at illegal exercise prices; and refused (vi) to sign corporate and
                                                                                                              6   contract documents requiring his authorization; or (vii) to advise FF regarding its
                                                                                                              7   actions and corporate governance. (Id. ¶¶ 65-66.)
                                                                                                              8           D.       Liu’s Complaint and Faraday’s Operative SACC
                                                                                                              9           Liu’s Complaint seeks (i) eight figures in unpaid cash compensation and
                                                                                                             10   stock options allegedly owed under the Employment Agreement that Liu
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                                                                                                             11   improperly solicited, negotiated, drafted, and procured in violation of his ethical
                                                                                                             12   duties; and seeks (ii) further unspecified damages on the alleged ground that FF
                                                                              I R V I N E , C A 92614-2545
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                                                                                                             13   wrongfully discharged Liu in retaliation for Liu’s reporting of unspecified
                                                                                                             14   “compliance issues and violations of law” at the company. (Compl. ¶¶ 109-116,
                                                                                                             15   131-135.)
                                                                                                             16           In response to these allegations, Faraday’s SACC asserts defensive claims
                                                                                                             17   that broadly fall into two categories: (a) claims that seek to void, rescind, or
                                                                                                             18   otherwise declare unenforceable the Employment Agreement due to Liu’s ethical
                                                                                                             19   violations in procuring that contract (the “Anti-Enforcement Claims”);1 and (ii)
                                                                                                             20   alternatively pled claims that seek to limit Liu’s recovery based upon his failure to
                                                                                                             21   perform his job duties in specifically enumerated ways in breach of the
                                                                                                             22   Employment Agreement in the event that agreement is enforced (the “Alternative
                                                                                                             23   Breach Claims”).2
                                                                                                             24
                                                                                                                  1
                                                                                                             25    See SACC ¶¶ 76-108, 128-38 (alleging rescission and breach of fiduciary duty for
                                                                                                                  violation of the Rules of Professional Conduct, constructive fraud, rescission based
                                                                                                             26   on unconscionability, and unfair competition).
                                                                                                             27   2
                                                                                                                    See SACC ¶¶ 109-127 (alleging claims for breach of contract and breach of
                                                                                                             28   fiduciary duty).
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                                                                                                               1           E.       FF Production of Non-Privileged Documents and Privilege Logs
                                                                                                               2           FF has produced 4,497 pages of documents responsive to Liu’s February 11,
                                                                                                               3   2021 Requests for Production (the “Requests”), as well as provided Liu with a
                                                                                                               4   detailed privilege log identifying 1,086 privileged documents. (See concurrently
                                                                                                               5   filed Declaration of Lauren Grochow (“Grochow Decl.”), ¶¶ 4-5, Exs. 3-5.) The
                                                                                                               6   number of privileged documents logged by FF is not surprising where the Requests
                                                                                                               7   plainly called for the improper disclosure of FF’s privileged materials relating to
                                                                                                               8   Liu’s alleged wrongful termination claim, as evident on, inter alia, the face of:
                                                                                                               9    Request No. 3, seeking “ALL DOCUMENTS AND COMMUNICATIONS
                                                                                                                     related to the EVERGRANDE TRANSACTION, including, without limitation,
                                                                                                              10
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                                                                                                                     relating to any amounts invested by EVERGRANDE in FF and any and all
                                                                                                              11     related and side transactions and dealings,” as well as clearly and additionally
                                                                                                                     encompassing privileged information relating to Liu’s recently-dismissed
                                                                                                              12
                                                                              I R V I N E , C A 92614-2545




                                                                                                                     common law and securities fraud claims [Dkt. 123], in which Liu alleged that
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                                                                                                              13     FF wrongfully induced him to join Faraday by purportedly misrepresenting the
                                                                                                                     amount and status of Evergrande’s Series A funding; and
                                                                                                              14
                                                                                                              15    Request Nos. 20, 21 and 25, collectively seeking “ALL DOCUMENTS AND
                                                                                                                     COMMUNICATIONS” related to (a) FF’s policies, formal or informal, for
                                                                                                              16     hiring employees, whether permanent or temporary, including policies
                                                                                                              17     concerning employees’ age, race, sex, gender, nationality, looks or appearance,
                                                                                                                     or religion”; (b) “internal complaints or reports raised by current or former
                                                                                                              18     employees of FF’s concerning allegations of sexual harassment or hostile work
                                                                                                              19     environment, including without limitation ANY internal or external
                                                                                                                     investigations into those allegations and the findings thereof, and ANY
                                                                                                              20     remediating actions suggested or implemented as a result”; and (c) “any FF
                                                                                                              21     work plan, draft of any FF internal memoranda concerning FF employee layoffs,
                                                                                                                     FF or its employees’ compliance with, or potential or actual violation of, U.S.
                                                                                                              22     and California labor codes, fiduciary duties, immigration laws, financial controls
                                                                                                              23     and reporting, internal controls, and privacy laws,” and clearly encompassing
                                                                                                                     privileged information concerning Liu’s wrongful termination claim and, in
                                                                                                              24     particular, his assertion that he reported, and was discharged in alleged
                                                                                                              25     retaliation for communicating, “compliance issues and violations of law” that
                                                                                                                     supposedly occurred at FF related to immigration, sexual harassment, privacy,
                                                                                                              26
                                                                                                                     financial, labor law, and WARN Act issues.
                                                                                                              27
                                                                                                                   (Grochow Decl., ¶ 2 , Ex. 1 (emphasis added).)
                                                                                                              28
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                                                                                                                               OPPOSITION TO PLAINTIFF AND COUNTER-DEFENDANT’S EXPEDITED MOTION FOR
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                                                                                                               1           In response to Liu’s facially overbroad Requests, FF reviewed and logged all
                                                                                                               2   privileged, responsive documents and communications related to the following
                                                                                                               3   topics improperly implicated by Liu’s wrongful termination claim: (i) the Smart
                                                                                                               4   King options and the Employee Stock Option Plan; (ii) drafts of policies concerning
                                                                                                               5   employee’s age, race, sex, gender nationality, looks or appearance, or religion;
                                                                                                               6   (iii) the USCIS’s site inspection and immigration matters; (iv) labor and
                                                                                                               7   employment issues, including employee layoffs and the WARN Act notice, sexual
                                                                                                               8   harassment complaints and investigations, and compliance with labor laws; (v) FF
                                                                                                               9   board of director or management meetings held between September and November
                                                                                                              10   2018; (vi) the Evergrande transaction; and (vii) Liu’s termination. (Id. ¶ 4, Exs. 3-
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                                                                                                              11   5.) Each of these subject matters (with the exception of a limited portion of the
                                                                                                              12   Evergrande transaction) not only are unrelated to Faraday’s Alternative Breach
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                                                                                                              13   Claims and Liu’s professed defenses to those claims, but also are conceivably
                                                                                                              14   relevant only to Liu’s affirmative allegation that he was wrongfully discharged in
                                                                                                              15   retaliation for reporting “compliance issues and violations of law” at FF. (Compl.
                                                                                                              16   ¶¶ 132-133).
                                                                                                              17           F.       Liu and His Counsel’s Revelation of Their Unauthorized
                                                                                                              18                    Possession and Use of FF’s Privileged Information
                                                                                                              19           In recently producing 62 (308 pages) of FF’s privileged attorney-client
                                                                                                              20   documents that he illicitly pilfered from the company shortly before his termination
                                                                                                              21   in early 2019, Liu revealed—for the very first time—that he and his counsel have
                                                                                                              22   wrongfully possessed and have used FF’s privileged materials since the inception
                                                                                                              23   of this lawsuit (the “Illicit Privileged Materials”). (Grochow Decl., ¶ 6, Ex. 6.)3
                                                                                                              24
                                                                                                                   3
                                                                                                                      Liu appears to have misappropriated FF’s privileged documents and
                                                                                                              25
                                                                                                                   communications between January 18, 2019 and January 28, 2019 based on dates at
                                                                                                              26   the tops of 25 of the email communications reflecting when they were printed to
                                                                                                                   either PDF or paper copy. (Grochow Decl., ¶ 6, Ex. 6.) That timing was no
                                                                                                              27
                                                                                                                   coincidence; rather, it immediately followed FF’s then Chief Executive Officer,
                                                                                                              28   Yueting Jia’s request that Liu draft a summary of the work he had performed since
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                                                                                                               1   The Illicit Privileged Materials retained and used by Liu and his counsel include:
                                                                                                               2    Drafts of company policies prepared by FF’s other in-house legal counsel, and
                                                                                                               3     not by Liu himself (HLIU000527; HLIU000576);
                                                                                                               4    A document disclosing FF’s legal strategy vis-à-vis its sales model
                                                                                                                     (HLIU000542);
                                                                                                               5
                                                                                                                    Drafts of Board of Director meeting minutes prepared by counsel and disclosing
                                                                                                               6     privileged information presented to FF’s Board (HLIU000605; HLIU000653;
                                                                                                               7     HLIU000672; HLIU000775; HLIU000935; HLIU000940; HLIU001094;
                                                                                                                     HLIU001569; HLIU001576; HLIU001582; HLIU001798);
                                                                                                               8
                                                                                                                    Legal memoranda prepared by FF’s in-house counsel for review and
                                                                                                               9     consideration by FF’s senior executives (HLIU000665; HLIU000667;
                                                                                                              10     HLIU001498);
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                                                                                                              11    Email communications with FF’s outside legal counsel regarding FF’s Series A
                                                                                                                     financing transaction, and FF’s related legal dispute and litigation, with
                                                                                                              12
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                                                                                                                     Evergrande (HLIU000807; HLIU000834; HLIU000911; HLIU000973;
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                                                                                                                     HLIU1006; HLIU001044; HLIU001638; HLIU001800; HLIU001802;
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                                                                                                              13
                                                                                                                     HLIU001807; HLIU001810; HLIU001813; HLIU001814; HLIU001819;
                                                                                                              14     HLIU002113; HLIU002121; HLIU002321; HLIU002322);
                                                                                                              15    Text message and email correspondence between Liu, FF employees, and
                                                                                                              16     outside counsel regarding requests for, and the provision of legal advice
                                                                                                                     regarding, corporate governance issues (HLIU001660; HLIU001661;
                                                                                                              17     HLIU001662; HLIU001663; HLIU001806; HLIU001808; HLIU001815;
                                                                                                              18     HLIU002318);

                                                                                                              19    Emails between FF’s employees, in-house counsel, and outside counsel
                                                                                                                     regarding labor and employment issues involving the WARN Act, alleged
                                                                                                              20     sexual harassment complaints, furloughs, and investigations (HLIU000949;
                                                                                                              21     HLIU000958; HLIU001647; HLIU001654; HLIU001799; HLIU001803);

                                                                                                              22    Email correspondence and draft documents exchanged with outside counsel
                                                                                                                     relating to FF’s Employee Stock Option Plan (HLIU000919; HLIU000927;
                                                                                                              23     HLIU000936; HLIU000938; HLIU001428; HLIU001635);
                                                                                                              24
                                                                                                              25
                                                                                                              26   joining FF and his work plan for 2019, alerting Liu that his performance was under
                                                                                                                   scrutiny. (Compl. ¶ 82, SACC ¶¶ 69-73). Clearly then, Liu purloined FF’s
                                                                                                              27   privileged information in anticipation of his termination and for use in his
                                                                                                              28   contemplated wrongful discharge lawsuit.
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                                                                                                               1    Emails reflecting FF seeking legal advice from in-house regarding the recording
                                                                                                               2     of company meetings (HLIU000941; HLIU000956);

                                                                                                               3    Email chains containing legal advice from outside counsel concerning banking
                                                                                                                     laws (HLIU000945);
                                                                                                               4
                                                                                                                    An email from an FF employee seeking legal advice regarding how to respond
                                                                                                               5     to meeting comments (HLIU001646);
                                                                                                               6    An email summarizing work performed by FF’s in-house legal department
                                                                                                               7     (HLIU000995); and
                                                                                                                    A presentation to FF’s management regarding the company’s key legal
                                                                                                               8
                                                                                                                     strategies and the status of various legal matters (HLIU001447; HLIU001469;
                                                                                                               9     HLIU001483).
                                                                                                              10   (Grochow Decl., ¶ 6, Ex. 6.)
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                                                                                                              11           None of these Illicit Privileged Materials are relevant to Liu’s professed
                                                                                                              12   defenses to the SACC’s Alternative Breach Claims. Nor could they be where Liu
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                                                                                                              13   purloined the Illicit Privileged Materials from FF in January 2019, when he was
                                                                                                              14   secretly stockpiling evidence for his own anticipated wrongful termination lawsuit,
                                                                                                              15   rather than for any hypothetical affirmative defenses to an equally hypothetical,
                                                                                                              16   future counterclaim that could be filed by Faraday. It is therefore unsurprising that
                                                                                                              17   the above-listed Illicit Privileged Materials exclusively relate to Liu’s wrongful
                                                                                                              18   discharge claim, insofar as they supposedly evidence the purported “compliance
                                                                                                              19   issues and violations of law” that Liu allegedly reported to FF management prior to
                                                                                                              20   his termination. (Compl. ¶¶ 132-133).
                                                                                                              21           In addition to improperly misappropriating and thereafter retaining FF’s
                                                                                                              22   privileged information throughout this lawsuit, Liu’s and his counsel’s misconduct
                                                                                                              23   vis-a-vis that information further is manifest in their admitted, improper use of that
                                                                                                              24   information to both form and prosecute Liu’s wrongful termination claim.
                                                                                                              25   Specifically:
                                                                                                              26           1.       During the April 13, 2021 deposition of FF employee Qing Ye (the
                                                                                                              27   “Ye Deposition”), Liu’s counsel attempted to introduce and question the witness on
                                                                                                              28   Illicit Privileged Materials irrelevant to the SACC’s Alternative Breach Claims—
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                                                                                                               1   namely, a privileged communication between FF and its legal counsel containing
                                                                                                               2   legal advice about corporate governance, relevant only to Liu’s wrongful
                                                                                                               3   termination claim. (Grochow Decl., ¶ 7, Ex. 7 at 61:18-64:25, 66:3-20, 69:2-11.);
                                                                                                               4           2.       In response to his attempted introduction of Illicit Privileged Materials,
                                                                                                               5   FF’s attorney admonished Liu’s counsel that such unauthorized possession and use
                                                                                                               6   of FF’s privileged materials not only violates the attorney-client privilege, but also
                                                                                                               7   subjects Liu’s counsel to disqualification under governing California law. (Id.,
                                                                                                               8   Ex. 7 at 19:21-20:23; 54:7-57:10, 61:18-64:25, 66:3-20, 69:2-11 );
                                                                                                               9           3.       That evening, following the conclusion of the Ye Deposition, FF’s
                                                                                                              10   attorney sent Liu’s counsel a letter (i) reiterating the attempted misuse of Illicit
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                                                                                                              11   Privileged Materials earlier that day; (ii) demanding Liu’s and his counsel’s
                                                                                                              12   immediate return and destruction of any privileged information in their possession;
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                                                                                                              13   and (iii) reconfirming the irrefutable California legal authorities precluding Liu’s
                                                                                                              14   prosecution of his wrongful termination claim using FF’s privileged information,
                                                                                                              15   and correspondingly mandating the disqualification of Liu’s counsel based upon its
                                                                                                              16   continued possession and its use of that information. (Id., Ex. 8 at pp. 1-3); and
                                                                                                              17           4.       The next day, during the April 14, 2021 deposition of Chaoying Deng,
                                                                                                              18   Liu’s counsel once again attempted to question the witness with Illicit Privileged
                                                                                                              19   Materials—namely, a privileged communication between FF and its outside legal
                                                                                                              20   counsel concerning FF’s financial position. (Id., ¶ 9.) Notably and dispositively, in
                                                                                                              21   response to FF’s attorney’s objection and demand that all Illicit Privileged
                                                                                                              22   Materials be immediately returned and/or destroyed, Liu’s attorney not only
                                                                                                              23   unequivocally admitted, but also expressly reconfirmed, Liu’s intention to use
                                                                                                              24   FF’s privileged information “in support of” the Complaint’s “claim for
                                                                                                              25   retaliation” in direct violation of the controlling California Supreme Court law
                                                                                                              26   established in General Dynamics. (Id., Ex 9 at 95:15-96:9, 99:11-20, 101:5-13
                                                                                                              27   (emphasis added).)
                                                                                                              28
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                                                                                                               1           Following that unequivocal admission, Liu filed the Motion and now
                                                                                                               2   requests that this Court not only retroactively (i) condone his impermissible
                                                                                                               3   misappropriation, retention and use of Illicit Privileged Materials to prosecute his
                                                                                                               4   wrongful termination claim, but also (ii) allow him to compound that misconduct
                                                                                                               5   by compelling FF’s production of additional privileged information he failed to
                                                                                                               6   purloin. As detailed below, Liu’s requests have no basis in fact or law and are
                                                                                                               7   required to denied.
                                                                                                               8   III.    ARGUMENT
                                                                                                               9           A.       The Court Should Not Authorize the Further Misuse, or Compel
                                                                                                              10                    the Further Disclosure, of FF’s Privileged Information
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                                                                                                              11           Two separate but related rules of well-established California law preclude
                                                                                                              12   Liu’s request that the Court authorize his further misuse, and compel the further
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                                                                                                              13   production, of FF’s privileged information:
                                                                                                              14           1.       “Where the elements of a wrongful discharge in violation of
                                                                                                              15   fundamental public policy claim cannot . . . be fully established [by in-house
                                                                                                              16   counsel] without breaching the attorney-client privilege, the suit must be dismissed
                                                                                                              17   in the interest of preserving the privilege.” General Dynamics, 7 Cal. 4th at 1190;
                                                                                                              18   and
                                                                                                              19           2.       “When a lawyer [] receives materials that obviously appear to be
                                                                                                              20   subject to an attorney-client privilege[,]” the lawyer “should refrain from examining
                                                                                                              21   the materials any more than is essential to ascertain if the materials are privileged,
                                                                                                              22   and shall immediately notify the sender that he or she possesses material that
                                                                                                              23   appears to be privileged[,]” State Comp. Ins. Fund v. WPS, Inc., 70 Cal. App. 4th
                                                                                                              24   644, 654-55 (1999), absent which that lawyer is subject to disqualification. Rico v.
                                                                                                              25   Mitsubishi Motors Corp., 42 Cal. 4th 807, 819 (2007).
                                                                                                              26
                                                                                                              27
                                                                                                              28
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                                                                                                               1                    1.    General Dynamics Bars the Use of FF’s Privileged
                                                                                                               2                          Information to Prosecute Liu’s Wrongful Discharge Claim
                                                                                                               3           Typically, a plaintiff alleging wrongful discharge in violation of public
                                                                                                               4   policy must plead and prove he was terminated in retaliation for “(1) refusing to
                                                                                                               5   violate a statute; (2) performing a statutory obligation; (3) exercising a statutory
                                                                                                               6   right or privilege; [or] (4) reporting an alleged violation of statute of public
                                                                                                               7   importance.” Stevenson v. Super. Ct., 16 Cal. 4th 880, 889 (1997). Notably, this
                                                                                                               8   standard is even more exacting where, as here, the plaintiff is the defendant’s
                                                                                                               9   former in-house attorney, in which case the plaintiff must establish he was
                                                                                                              10   discharged for (i) “following a mandatory ethical obligation” grounded in “explicit
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                                                                                                              11   and unequivocal ethical norms embodied in the Rules of Professional
                                                                                                              12   Responsibility and statutes;” or for (ii) engaging in other traditionally protected
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                                                                                                              13   activity “under circumstances in which the Legislature has manifested a judgment
                                                                                                              14   that the principle of professional confidentiality does not apply.” See General
                                                                                                              15   Dynamics, 7 Cal. 4th at 1188-1190 (emphasis in original).            These additional
                                                                                                              16   requirements are necessary to “protect” the “values that underlie the professional
                                                                                                              17   [attorney-client] relationship . . . from the threat of damage” posed by wrongful
                                                                                                              18   discharge claims from in-house counsel. Id. at 1889.
                                                                                                              19           To that end, the California Supreme Court in General Dynamics made clear
                                                                                                              20   that an in-house attorney is only permitted to maintain “a retaliatory discharge
                                                                                                              21   claim, provided it can be established without breaching the attorney-client privilege
                                                                                                              22   or unduly endangering the values lying at the heart of the professional relationship.”
                                                                                                              23   See 7 Cal. 4th at 1169 (emphasis in original). “[W]here the attorney-employee’s
                                                                                                              24   retaliatory discharge claim is incapable of complete resolution without breaching
                                                                                                              25   the attorney-client privilege, the suit may not proceed.” Id. at 1170 (emphasis
                                                                                                              26   added). That is because an in-house attorney’s “high duty of fidelity to the interests
                                                                                                              27   of the client works against a tort remedy that is coextensive with that available to
                                                                                                              28   the nonattorney employee.” Indeed, “the in-house attorney who publicly exposes
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                                                                                                               1   the client’s secrets” in support of a wrongful discharge claim will “find no
                                                                                                               2   sanctuary in the courts[,]” and there is no basis for “any suggestion that the
                                                                                                               3   scope of the [attorney-client] privilege should be diluted in the context of in-
                                                                                                               4   house counsel and their corporate clients.” Accordingly, “where the elements of
                                                                                                               5   a wrongful discharge in violation of fundamental public policy claim cannot . . .
                                                                                                               6   be fully established without breaching the attorney-client privilege, the suit must
                                                                                                               7   be dismissed in the interest of preserving the privilege.” Id. at 1189-90 (emphasis
                                                                                                               8   added).
                                                                                                               9           Here, Liu’s wrongful termination claim is expressly predicated on his
                                                                                                              10   professed reporting of “compliance issues and violations of law” to FF management
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                                                                                                              11   in his capacity as Faraday’s Global General Counsel, thereby placing those
                                                                                                              12   privileged communications (as well as FF’s other privileged information
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                                                                                                              13   concerning those alleged “issues” and “violations”) at the heart of the Complaint’s
                                                                                                              14   retaliatory discharge action. (See Compl. ¶ 5 [alleging Liu was “stripped of his
                                                                                                              15   authority and then terminated” because he “proactively took steps to ensure
                                                                                                              16   Faraday’s compliance with applicable law, including by seeking [internal]
                                                                                                              17   investigations”]; ¶ 63 [admitting Liu had responsibility for “overseeing a wide
                                                                                                              18   range of sensitive regulatory and compliance matters” as in-house counsel]; ¶ 69
                                                                                                              19   [alleging Liu “repeatedly advised” FF to cease “illegal, discriminatory” behavior
                                                                                                              20   and “worked with and directed Faraday’s legal department” in that regard]; ¶ 71
                                                                                                              21   [alleging Liu directed the FF “legal department” to “investigate complaints”]; ¶ 75
                                                                                                              22   [alleging Liu “actively instructed the legal department to issue memoranda and
                                                                                                              23   other communications” regarding FF’s legal compliance]; ¶ 83 [quoting Liu’s letter
                                                                                                              24   to management accusing FF of retaliating against him for “directly express[ing]
                                                                                                              25   [his] views . . . on how to best comply with laws”]; and ¶¶ 132-133 [alleging Liu
                                                                                                              26   was terminated in retaliation for reporting “serious compliance issues and violations
                                                                                                              27   of law”]).
                                                                                                              28
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                                                                                                               1           Consistent with the gravamen of Liu’s wrongful termination claim, the Illicit
                                                                                                               2   Privileged Materials he pilfered from FF and now seeks permission to use in this
                                                                                                               3   lawsuit—and the documents and communications on FF’s privilege log that Liu
                                                                                                               4   seeks to compel—overwhelmingly concern the professed “compliance issues” and
                                                                                                               5   “violations of law” Liu allegedly reported to FF management. (See Grochow Decl.,
                                                                                                               6   ¶ 4, Ex. 6 [describing privilege log documents concerning (i) the Evergrande
                                                                                                               7   transaction; (ii) the Smart King options and the Employee Stock Option Plan; (iii)
                                                                                                               8   drafts of policies concerning employee’s age, race, sex, gender nationality, looks or
                                                                                                               9   appearance, or religion; (iv) the USCIS’s site inspection and immigration matters;
                                                                                                              10   (v) labor and employment issues, including employee layoffs and the WARN Act
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                                                                                                              11   notice, sexual harassment complaints and investigations, and compliance with labor
                                                                                                              12   laws; (vi) FF board of director or management meetings held between September
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                                                                                                              13   and November 2018; and (vii) Liu’s termination]; id. [describing the Illicit
                                                                                                              14   Privileged Materials, including text messages, emails, and other documents
                                                                                                              15   exchanged between FF employees, FF’s in-house counsel, and FF’s outside counsel
                                                                                                              16   that evidence requests for and the provision of legal advice on corporate
                                                                                                              17   governance and legal compliance issues]).
                                                                                                              18           Without question, General Dynamics prohibits Liu’s and his counsel’s
                                                                                                              19   further use of these privileged materials, particularly where they are irrelevant to
                                                                                                              20   the specifically enumerated subject matters implicated by the SACC’s Alternative
                                                                                                              21   Breach Claim concerning Liu’s failures vis-à-vis FF’s IPO, investment banking, the
                                                                                                              22   EVelozcity litigation, and vendor concerns regarding indemnification.          (SACC
                                                                                                              23   ¶¶ 50, 55-59, 61, 69-70.)4
                                                                                                              24
                                                                                                                   4
                                                                                                                     The Motion argues General Dynamics is inapposite in light of the California
                                                                                                              25
                                                                                                                   Court of Appeal’s subsequent decision in Fox Searchlight Pictures, Inc. v. Paladino
                                                                                                              26   which indicated that an attorney may make a limited disclosure of privileged
                                                                                                                   communications to his counsel in a wrongful termination case to allow the
                                                                                                              27
                                                                                                                   attorney’s counsel to evaluate the attorney’s discharge claim and advise on the
                                                                                                              28   contours of the attorney-client privilege under the facts of the case. See 89 Cal.
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                                                                                                               1                    2.    California Disqualification Law Also Bars the Use of FF’s
                                                                                                               2                          Privileged Information
                                                                                                               3           In addition to secretly possessing FF’s privileged information since the
                                                                                                               4   inception of this lawsuit, Liu’s counsel has used—and admittedly intends to
                                                                                                               5   continue to use—FF’s privileged information to prosecute Liu’s wrongful
                                                                                                               6   termination claim, as recently reconfirmed during the depositions of FF’s
                                                                                                               7   employees, and in direct violation of California law. (See, e.g., Grochow Decl., ¶ 6,
                                                                                                               8   Ex. 6, and Ex. 8 at 95:15-96:9, 99:11-20, 101:5-13 [reflecting Liu’s counsel’s
                                                                                                               9   admission that Liu intends to use FF’s privileged materials “in support of” Liu’s
                                                                                                              10   “claim for retaliation”]).
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                                                                                                              11           To “protect the sanctity of the attorney-client privilege and to discourage
                                                                                                              12   unprofessional conduct,” an attorney receiving an adversary’s privileged
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                                                                                                              13   information is required to comply with the following judicially-prescribed protocol:
                                                                                                              14           When a lawyer who receives materials that obviously appear to be
                                                                                                              15           subject to an attorney-client privilege or otherwise clearly appear to be
                                                                                                                           confidential and privileged and where it is reasonably apparent that the
                                                                                                              16           materials were provided or made available through inadvertence, the
                                                                                                              17           lawyer receiving such materials should refrain from examining the
                                                                                                                           materials any more than is essential to ascertain if the materials are
                                                                                                              18           privileged, and shall immediately notify the sender that he or she
                                                                                                              19           possesses material that appears to be privileged.
                                                                                                              20   State Comp. Ins. Fund, 70 Cal. App. 4th at 654-655.
                                                                                                              21
                                                                                                              22   App. 4th 294, 312 (2001) (“In house counsel faced with the[] ethical issues
                                                                                                                   [identified in General Dynamics] . . . should be permitted to seek out independent,
                                                                                                              23   candid, professional advice about their ethical duties” in prosecuting a wrongful
                                                                                                              24   termination claim). The Fox opinion, however, has no application where (i) Liu
                                                                                                                   undeniably pilfered and provided FF’s privileged documents to his counsel; (ii) Liu
                                                                                                              25   and his counsel thereafter concealed that misappropriation and their resulting
                                                                                                              26   possession of those privileged materials for more than a year; and (iii) Liu’s counsel
                                                                                                                   not only has attempted to use those privileged materials as the basis of, and to
                                                                                                              27   prosecute, Liu’s wrongful termination claim, but also has expressly admitted its
                                                                                                              28   intention to continue to do so.
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                                                                                                                               OPPOSITION TO PLAINTIFF AND COUNTER-DEFENDANT’S EXPEDITED MOTION FOR
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                                                                                                               1           Thus, “once [counsel’s] examination [of a document] show[s] [it] ha[s] been
                                                                                                               2   transmitted between an attorney representing [an adversary] and either an officer or
                                                                                                               3   employee of [an adversary] . . , any further examination [of that document by
                                                                                                               4   counsel] would exceed permissible limits.” Clark v. Super. Ct., 196 Cal. App. 4th
                                                                                                               5   37, 53 (2011), citing Costco Wholesale Corp. v. Super. Ct., 47 Cal. 4th 725, 733
                                                                                                               6   (2009). To that end, any deviation from this protocol—which equally applies to,
                                                                                                               7   and governs the possession and use of, attorney work product—subjects the
                                                                                                               8   offending lawyer to disqualification. See Rico, 42 Cal. 4th at 819.
                                                                                                               9           The California Court of Appeal has made clear that counsel can and should
                                                                                                              10   be disqualified where, as here, a client provides counsel with illicitly-obtained
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                                                                                                              11   privileged materials, and counsel thereafter uses the materials to prosecute the
                                                                                                              12   client’s case, including by using them to question witnesses. See Clark, 196 Cal.
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                                                                                                              13   App. 4th at 49-56 (affirming disqualification where (i) plaintiff provided his
                                                                                                              14   attorney with former employer’s privileged information; and (ii) plaintiff’s attorney
                                                                                                              15   thereafter “used some of the substantive information contained in the privileged
                                                                                                              16   documents to question witnesses” and engaged in “excessive review” of privileged
                                                                                                              17   information in order to “craft” and otherwise prosecute the plaintiff’s claims).
                                                                                                              18           Here, it is indisputable that Liu’s counsel not only possesses, but also has
                                                                                                              19   repeatedly attempted to use, FF’s privileged information to prosecute Liu’s case, in
                                                                                                              20   violation of the law, and despite the repeated admonitions of FF’s attorneys
                                                                                                              21   beginning in March 2021 as to the risk of disqualification occasioned by such
                                                                                                              22   misconduct. (Grochow Decl., Ex. 7 at 19:21-20:23, 54:7-57:10, 61:18-64:25, 69:2-
                                                                                                              23   11 and Ex. 9 at 95:15-24, 96:4-9, 99:11-20, 101:5-13.)
                                                                                                              24           Because Liu’s counsel is now subject to disqualification due to its
                                                                                                              25   unauthorized possession, use, and threatened future use of FF’s privileged
                                                                                                              26   information—and because FF will imminently seek that disqualification before the
                                                                                                              27   presiding District Judge—this Court neither can, nor should, authorize any further
                                                                                                              28
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                                                                                                               1   use of the Illicit Privileged Materials, much less compel FF to produce additional
                                                                                                               2   privileged documents to Liu and his counsel.
                                                                                                               3           B.       Liu Cannot Establish a Wholesale Waiver of the Attorney-Client
                                                                                                               4                    Privileged Based on Faraday’s Alternative Breach Claims
                                                                                                               5           To avoid the consequences of the above-described ethical and legal
                                                                                                               6   violations, Liu’s Motion broadly demands the Court compel the disclosure, and
                                                                                                               7   authorize his use, of FF’s attorney-client privileged communications “as to” Liu’s
                                                                                                               8   “handling [of] all legal matters that he was involved in as FF’s General
                                                                                                               9   Counsel.” (Mot. at p. 13:6-12; see also id. at p. 15:17-21 [requesting an order
                                                                                                              10   compelling FF to produce all documents on its privilege log which FF allegedly has
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                                                                                                              11   “wrongly” designated and “wrongly” withheld in light of its filing of the SACC]).
                                                                                                              12   In so doing, Liu exclusively relies on the demonstrably false premise that the
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                                                                                                              13   SACC’s Alternative Breach Claims implicate, and have effectuated a sweeping
                                                                                                              14   waiver of, the privilege as to every one of those facially privileged materials. As
                                                                                                              15   established below, this attempt to retroactively justify and compound Liu’s and his
                                                                                                              16   counsel’s possession and misuse of FF’s privileged information must be rejected
                                                                                                              17   for at least three dispositive reasons.
                                                                                                              18           First, whereas Liu baldly asserts that Faraday’s Alternative Breach Claims
                                                                                                              19   “are predicated upon [his] attorney-client communications with FF . . . and [his]
                                                                                                              20   allegedly incompetent legal advice . . . with respect to an unlimited universe of
                                                                                                              21   privileged and confidential matters,” (Mot. at p. 3:17-22), the plain language of the
                                                                                                              22   SACC makes clear that Faraday’s allegations are significantly narrower, and
                                                                                                              23   that Faraday does not claim, nor will it seek to prove, that Liu failed to provide
                                                                                                              24   competent legal advice on all matters during his employment. To the contrary, the
                                                                                                              25   Alternative Breach Claims allege only that Liu abdicated responsibility and failed
                                                                                                              26   to perform his job duties in the following ways specifically enumerated in the
                                                                                                              27   SACC: (i) failing to lead FF to an IPO; (ii) failing to connect FF with any
                                                                                                              28   investment bank; (iii) failing to assist FF when its Series A investor, Evergrande,
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                                                                                                               1   backed-out of its funding commitment; and (iv) failing to provide substantive legal
                                                                                                               2   advice with respect to the EVelozcity litigation, vendor concerns regarding
                                                                                                               3   indemnification, the recording of internal meetings, and a potential reduction in
                                                                                                               4   FF’s workforce, as reflected in Liu’s communications quoted verbatim in the
                                                                                                               5   SACC. (SACC ¶¶ 50, 55-59, 61, 69-70.)
                                                                                                               6           These facts—together with Liu’s harassment of FF’s equity program
                                                                                                               7   manager and threat to fire outside counsel unless it illegally inflated his stock
                                                                                                               8   options (id., ¶¶ 65-66)—define and limit the actual scope and “universe” of
                                                                                                               9   Faraday’s Alternative Breach Claims. See, e.g., Garcia v. HomEq Servicing Corp.,
                                                                                                              10   No. CIV-F-09-0374 AWI SMS, 2009 U.S. Dist. LEXIS 77697, at *8 (E.D. Cal.
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                                                                                                              11   Aug. 18, 2009) (“The general language of the complaint occasionally suggests that
                                                                                                              12   Plaintiff doubts Defendant’s legal status as holder of the note but the specific
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                                                                                                              13   allegations make clear that Plaintiff is suing under the belief that Defendant does
                                                                                                              14   not have physical possession.”); Gentry v. eBay, Inc., 99 Cal. App. 4th 816, 827
                                                                                                              15   (2002) (recognizing the “long-established rule[] of pleading” that “specific
                                                                                                              16   allegations control general pleadings.”); 61A Am Jur 2d Pleadings § 43 (2021)
                                                                                                              17   (“Specific allegations in a pleading control over general allegations concerning the
                                                                                                              18   same matter. The specific allegations are deemed to explain and limit the general
                                                                                                              19   ones.”).
                                                                                                              20           Put simply, Liu is legally prohibited from using his purported defense of
                                                                                                              21   Faraday’s limited Alternative Breach Claims as a guise to circumvent General
                                                                                                              22   Dynamics and prosecute his wrongful discharge claim using privileged information.
                                                                                                              23   See General Dynamics, 7 Cal. 4th at 1192 (recognizing that “[o]f course, the
                                                                                                              24   defendant employer is always free to challenge plaintiff’s claim by demonstrating
                                                                                                              25   the discharge was motivated by [lawful] reasons”).
                                                                                                              26           Second, as unambiguously confirmed by Liu’s own cited authority, when a
                                                                                                              27   party places his attorney’s actions at issue, the attorney is only entitled to use
                                                                                                              28   privileged information that is actually necessary to “adequately dispute” the party’s
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                                                                                                               1   claim. Bittaker v. Woodford, 331 F.3d 715, 719 (9th Cir. 2003). Consistent with
                                                                                                               2   that legal limitation:
                                                                                                               3           The court imposing the waiver does not order disclosure of the
                                                                                                               4           materials categorically . . . .The court thus gives the holder of the
                                                                                                                           privilege a choice: If you want to litigate this claim, then you must
                                                                                                               5           waive your privilege to the extent necessary to give your opponent a
                                                                                                               6           fair opportunity to defend against it.
                                                                                                               7   Id. at 720 ( emphasis added); see also IGT v. All. Gaming Corp., No. 2:04-cv-
                                                                                                               8   1676-RCJ-RJJ, 2007 U.S. Dist. LEXIS 62395, at *7 (D. Nev. Aug. 20, 2007)
                                                                                                               9   (recognizing “the Ninth Circuit construes subject matter waivers narrowly” and
                                                                                                              10   rejecting waiver argument that would have entitled an adversary “to an almost
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                                                                                                              11   unlimited number of documents” that “touch[] on any subject whatsoever
                                                                                                              12   mentioned in the Complaint”).          Indeed, Ninth Circuit law is clear that it is
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                                                                                                              13   improper for a court to find and “impose a waiver [] broader than [what is] needed
                                                                                                              14   to ensure the fairness of the proceedings before it.” Bittaker, 331 F.3d at 720.
                                                                                                              15           In accordance with the governing law and with the narrow range of issues
                                                                                                              16   actually implicated by the Faraday’s Alternative Breach Claims, FF:
                                                                                                              17           (A)      Has already produced otherwise privileged communications reflecting
                                                                                                              18   Liu’s failure to provide substantive legal advice with respect to the subject
                                                                                                              19   EVelozcity litigation, vendor concerns regarding indemnification, the recording of
                                                                                                              20   internal meetings, and a potential reduction in FF’s workforce;5 and further
                                                                                                              21
                                                                                                              22
                                                                                                              23
                                                                                                              24
                                                                                                              25
                                                                                                                   5
                                                                                                              26    See SACC ¶ 59; see also Grochow Decl., ¶ 5 (citing documents produced by FF as
                                                                                                                   Bates numbers FF00000371-374, FF00002118, FF00002119, FF00002177-2178,
                                                                                                              27   FF00001232-1233,     FF00001234,     FF00001235-1238,        FF00001239-1243,
                                                                                                              28   FF00001244-1246).
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                                                                                                               1           (B)      Will produce those otherwise privileged communications which Liu
                                                                                                               2   authored pertaining to the subject matters specifically enumerated and alleged in
                                                                                                               3   support of Faraday’s Alternative Breach Claims. (SACC ¶¶ 50, 55-59, 61, 69-70.)6
                                                                                                               4           In marked contrast, there is no basis for compelling FF to produce the
                                                                                                               5   documents identified on its privilege log which (i) do not pertain to Liu
                                                                                                               6   affirmatively advising FF or otherwise contributing with respect to the subject
                                                                                                               7   matters specifically implicated by the Alternative Breach Claims; and subsequently
                                                                                                               8   (ii) have nothing to do with, let alone can legitimately be used by Liu, to refute
                                                                                                               9   Faraday’s contention that he abdicated responsibility and failed to act as to those
                                                                                                              10   enumerated matters.
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                                                                                                              11           There similarly is no basis for Liu’s contention that FF has allegedly waived
                                                                                                              12   the privilege and is subsequently required to disclose, all of its communications
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                                                                                                              13   with outside counsel at Sidley Austin LLP (“Sidley”) concerning Liu’s
                                                                                                              14   Employment Agreement. (Mot. at pp. 9:3-8, 13:13-14:7.) As confirmed by the
                                                                                                              15   Sidley-related text messages already disclosed in this action (Dkt. No. 108-5)—as
                                                                                                              16   well as by the concurrently filed Declaration of Faraday’s Vice-President, Jiawei
                                                                                                              17   Wang (“Wang Decl.”), who negotiated the Employment Agreement with Liu—
                                                                                                              18   Sidley did not represent or provide legal advice to FF in connection with the
                                                                                                              19   negotiation and terms of the Employment Agreement.               To the contrary, FF
                                                                                                              20   transmitted the Employment Agreement to Sidley after its terms had already been
                                                                                                              21   negotiated and drafted and shortly before its execution, solely to obtain Sidley’s
                                                                                                              22   advice on matters unrelated to the negotiation of the Employment Agreement;
                                                                                                              23   namely, the possible impact of the Employment Agreement on FF’s other business
                                                                                                              24   relationships.       (See Wang Decl., ¶¶ 1-4.)       Sidley’s limited review of the
                                                                                                              25
                                                                                                                   6
                                                                                                              26     To the extent any of these documents also reflect privileged information
                                                                                                                   concerning the alleged “compliance issues and violations of law” at the heart of
                                                                                                              27   Liu’s wrongful termination claim—and legally and factually irrelevant to Faraday’s
                                                                                                              28   Alternative Breach Claims—FF will redact that irrelevant, privileged information.
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                                                                                                               1   Employment Agreement, therefore, is irrelevant to, and cannot be used by Liu to
                                                                                                               2   cure or otherwise refute, the ethical impropriety of his solicitation, negotiation,
                                                                                                               3   drafting, and procurement of the Employment Agreement while simultaneously
                                                                                                               4   serving as Faraday’s outside legal counsel at Mayer, let alone legally or factually
                                                                                                               5   justify any waiver vis-à-vis FF’s communications with Sidley. See, e.g., Held &
                                                                                                               6   Hines LLP v. Hussain, No. 16-CV-5273 (JSR)(SN), 2018 WL 4233809, at *4
                                                                                                               7   (S.D.N.Y. July 31, 2018) (even a claim that the client consulted independent
                                                                                                               8   counsel does not abate the attorney’s “obligation to advise [the client] in writing
                                                                                                               9   that [it] should consider seeking independent legal advice before signing the
                                                                                                              10   agreement”).
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                                                                                                              11           Third, even assuming, arguendo, the hypothetical existence of any waiver
                                                                                                              12   beyond the limited one established under the law and in this Opposition, FF still
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                                                                                                              13   cannot, in the first instance, be ordered to produce further privileged
                                                                                                              14   communications or otherwise authorize Liu’s continued use of the Illicit Privileged
                                                                                                              15   Materials.        That is because “the holder of the privilege may preserve the
                                                                                                              16   confidentiality of the privileged communications by choosing to abandon the claim
                                                                                                              17   that gives rise to the waiver condition.” Bittaker, 331 F.3d at 721; see also id. at
                                                                                                              18   720 (“The court thus gives the holder of the privilege a choice” of continuing with a
                                                                                                              19   claim, and “strik[es] a bargain with the holder of the privilege by letting him know
                                                                                                              20   how much of the privilege he must waive in order to proceed with his claim.”).
                                                                                                              21   Under those hypothetical circumstances, therefore, the Court legally can and should
                                                                                                              22   specifically define “the contours of the waiver . . . so that [FF] will not be unfairly
                                                                                                              23   surprised in the future” should it elect to proceed with its Alternative Breach
                                                                                                              24   Claims. Id. at 721.
                                                                                                              25           C.       Liu Cannot Legally Compel the Production of Privileged or Non-
                                                                                                              26                    Privileged Documents that Do Not Exist
                                                                                                              27           In violation of Local Rules 37-1 and 37-2, the Motion represents the first and
                                                                                                              28   only time Liu has specifically articulated in writing the legal and factual basis for
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                                                                                                               1   his contention that FF’s document production is allegedly deficient—the precise
                                                                                                               2   type of ambush the Local Rules are intended and designed to avoid. To that end,
                                                                                                               3   Liu’s and his counsel’s “ambush” and corresponding disregard for the mandatory
                                                                                                               4   discovery motion procedure is manifest from the following irrefutable facts:
                                                                                                               5           1.       On April 13, 2021—during a deposition lunch break—Liu’s counsel
                                                                                                               6   attempted to unilaterally convert this Court’s ordered meet and confer conference
                                                                                                               7   regarding Liu’s discovery violations into a discussion regarding the sufficiency of
                                                                                                               8   FF’s production. In response, FF’s counsel demanded that any meet and confer
                                                                                                               9   regarding FF’s production comply with Local Rule 37-1, and occur at a different
                                                                                                              10   time. (Grochow Decl., Ex. 10 at p. 1);
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                                                                                                              11           2.       On April 14, 2021, FF’s attorney sent Liu’s counsel written
                                                                                                              12   correspondence reconfirming Liu’s failure to comply with Local Rule 37-1, and
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                                                                                                              13   establishing the propriety of FF’s production to-date. (Id. at p. 2);
                                                                                                              14           3.       Less than an hour later, Liu’s counsel responded by threatening to file
                                                                                                              15   an ex parte application—Liu’s third successive such application in as many
                                                                                                              16   weeks—to compel FF’s production of documents, in violation of Local Rules 37-1
                                                                                                              17   through 37-3 prohibiting ex parte relief absent extraordinary circumstances. (Id.,
                                                                                                              18   Ex.11); and
                                                                                                              19           4.       Having agreed to forego ex parte relief in order to present these issues
                                                                                                              20   to this Court on an expedited basis, Liu now seeks to compel FF’s production of
                                                                                                              21   supposedly relevant privileged and non-privileged documents that Liu simply
                                                                                                              22   speculates exist. (Mot. at pp. 15:1-16:6.)
                                                                                                              23           Over and above its procedural impropriety, Liu’s request for an Order
                                                                                                              24   compelling FF’s further production of documents also must be rejected for at least
                                                                                                              25   four, independently dispositive reasons.
                                                                                                              26           First, as established, supra, in Sections III.A-B, this Court neither can, nor
                                                                                                              27   should, compel FF’s production of any further privileged documents, particularly
                                                                                                              28   where FF is preparing to produce any additional privileged records actually
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                                                                                                               1   implicated by Faraday’s Alternative Breach Claims. In contrast, any compelled
                                                                                                               2   disclosure of privileged information relating to Liu’s wrongful termination claim
                                                                                                               3   (for example, documents concerning the alleged “compliance issues and violations
                                                                                                               4   of law” Liu supposedly reported to FF management prior to his discharge) would
                                                                                                               5   serve only to compound the myriad violations of General Dynamics, State Comp.
                                                                                                               6   Ins. Fund, Rico, and Clark that Liu and his counsel have already committed.
                                                                                                               7           Second, while Liu hypothesizes further non-privileged documents exist from
                                                                                                               8   additional custodians concerning the circumstances of his hiring and termination,
                                                                                                               9   the law is clear that “[a] party’s mere suspicion that additional documents exist does
                                                                                                              10   not justify a motion to compel.” Tapia, 2010 U.S. Dist. LEXIS 152015, at *4-5;
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                                                                                                              11   see also, e.g., Purecircle United States v. Sweegen, Inc., No. 8:18-cv-01679-JVS
                                                                                                              12   (JDEx), 2020 U.S. Dist. LEXIS 133148, at *28 (C.D. Cal. June 17, 2020)
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                                                                                                              13   (“speculation that other responsive documents exist but are being withheld is not,
                                                                                                              14   without more, grounds to compel a further production.”). Although Liu cites the
                                                                                                              15   size of the parties’ respective document productions as though it were ipso facto
                                                                                                              16   proof that FF is withholding documents, that approach to discovery disputes is
                                                                                                              17   tellingly unsupported by citation to any law and betrays an impermissible “tit-for-
                                                                                                              18   tat” approach to discovery that cannot be legally condoned. See Nat’l Academy of
                                                                                                              19   Recording Arts & Sci., Inc. v. On Point Events, LP, 256 F.R.D. 678, 689 (C.D. Cal.
                                                                                                              20   2009) (“discovery is not conducted on a ‘tit-for-tat’ basis”).
                                                                                                              21           Third, to the extent the Motion seeks WeChat messages from Mr. Ye, (Mot.
                                                                                                              22   at p. 10:6-13), Mr. Ye has already confirmed, under oath, that he has no such
                                                                                                              23   messages relevant to this action, and that his personal cellular phone containing
                                                                                                              24   irrelevant messages was inadvertently destroyed. (Grochow Decl., Ex. 7 at 75:19-
                                                                                                              25   76:8, 77:12-21; 80:8-12, 84:22-85:2 .)
                                                                                                              26           Fourth, FF is in the process of forensically collecting and processing
                                                                                                              27   responsive, non-privileged text messages from Defendant Chaoying Deng (which
                                                                                                              28   process was delayed by technical difficulties) and anticipates supplementing its
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                                                                                                               1   production with those records shortly.
                                                                                                               2           Put simply, FF’s production of any remaining non-privileged relevant
                                                                                                               3   documents, as well as any remaining privileged documents relating to Faraday’s
                                                                                                               4   Alternative Breach Claims, will be imminently completed.                (Id., ¶¶ 5, 12.)
                                                                                                               5   Moreover, because Liu neither does, nor can, establish or adduce any evidence that
                                                                                                               6   FF is actually withholding any relevant documents, the Court cannot grant its
                                                                                                               7   procedurally and substantively improper request for an Order compelling further
                                                                                                               8   production under the governing facts and law of this case. See, e.g., Purecircle
                                                                                                               9   United States, 2020 U.S. Dist. LEXIS 133148, at *28 (“speculation that other
                                                                                                              10   responsive documents exist but are being withheld is not, without more, grounds to
T ROUTMAN P EPPER H AMILTON S AN DERS LLP




                                                                                                              11   compel a further production.”); Tapia, 2010 U.S. Dist. LEXIS 152015, at *4-5
                                                                                                              12   (same).
                                                                              I R V I N E , C A 92614-2545
                                            5 PAR K PLA ZA
                                                             S U I T E 1400




                                                                                                              13   IV.     CONCLUSION
                                                                                                              14           For the foregoing reasons, FF respectfully requests that the Motion be denied
                                                                                                              15   in its entirety.
                                                                                                              16   Dated: April 22, 2021                        Respectfully submitted,7
                                                                                                              17                                                TROUTMAN PEPPER HAMILTON
                                                                                                                                                                SANDERS LLP
                                                                                                              18
                                                                                                              19                                                 By: /s/ Lauren E. Grochow
                                                                                                                                                                   Lauren E. Grochow
                                                                                                              20                                                   Alan J. Kessel
                                                                                                                                                                   Kevin A. Crisp
                                                                                                              21                                                   Jeffrey M. Goldman
                                                                                                              22                                                       Attorneys for Defendants and
                                                                                                                                                                       Counterclaimant
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                                                                                                                     Pursuant to the Court’s April 15, 2021 Minute Order (Dkt. No. 118), FF requests
                                                                                                              27
                                                                                                                   that Liu finish making his production ordered by the Court by close of business on
                                                                                                              28   April 26, 2021.
                                                                                                                   115372909                                  - 24 -
                                                                                                                               OPPOSITION TO PLAINTIFF AND COUNTER-DEFENDANT’S EXPEDITED MOTION FOR
                                                                                                                                    DETERMINATION OF PRIVILEGE ISSUE AND TO COMPEL PRODUCTION
